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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK                                                       -t~ MAR 2 7 2014

 UNITED STATES OF AMERICA,                                    13-CR-125             BROOKC\1\l OF~::!CE

               -against-                                      Statement of Reasons Pursuant to
                                                              18 U.S.C. § 3553(c)(2)
 KEITH BEAUFORT, KAREEM
 CAMPBELL, TERRANCE JONES, IRA
 MARTIN, and JONATHAN SCOTT,

                       Defendants.
                                                                                  .)
JACK B. WEINSTEIN, Senior United States District Judge:

        A sentencing court shall "state in open court the reasons for its imposition of the

particular sentence." 18 U.S.C. § 3553(c). If the sentence is not ofthe kind prescribed by, or is

outside the range of, the Sentencing Guidelines referred to in Section 3553(a)(4), the court shall

indicate the specific reasons for imposing a sentence different from the Guidelines. 18 U.S.C.

 § 3553(c)(2). These "reasons must also be stated with specificity in the written order of

judgment and commitment." !d. Even though the mandatory nature of the Guidelines has been

excised and they are now "advisory," see United States v. Booker, 543 U.S. 220, 245-46 (2005),

the sentencing court must still adhere to the requirements of 18 U.S.C. § 3553(c)(2). United

States v. Jones, 460 F.3d 191, 197 (2d Cir. 2006).

        The sentencing court's written statement of reasons shall be "a simple, fact-specific

statement explaining why the Guidelines range did not account for a specific factor or factors

under§ 3553(a)." United States v. Rattoballi, 452 F.3d 127, 138 (2d Cir. 2006). Such a

statement should demonstrate that the court "considered the parties' arguments and that it has a

reasoned basis for exercising its own legal decisionmaking authority." United States v. Cavera,




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 550 F.3d 180, 193 (2d Cir. 2008) (quoting Rita v. United States, 551 U.S. 338, 356 (2007))

 (internal quotations and alterations omitted).

        Prompted by several shootings in early 2012, the New York Police Department began an

 investigation into drug trafficking and violent crime in the Bushwick Houses, a public housing

 development in Brooklyn, New York. While investigating the shootings, police officers

 identified Terrance Jones, Kareem Campbell, Keith Beaufort, Ira Martin, and Jonathan Scott as

 street-level crack cocaine dealers working discrete "turfs" within the development.

        Undercover police officers and cooperating witnesses made multiple purchases of crack

cocaine from each ofthe defendants. The transactions were spread out over several months

during the summer and fall of 2012. All sales involved relatively modest quantities of cocaine. In

total, the government alleges that Beaufort is accountable for the sale of 1.257 grams of crack

cocaine; Campbell for 1.691 grams; Jones for 3.044 grams; Martin for 3.44 grams; and Scott for

 1.869 grams.

        There is no information to suggest that any of the defendants were involved in violence

or shootings that were the focus of the original police investigation. The defendants worked

independently of one another and did not maintain supervisory roles over other co-conspirators.

        The defendants were arrested between February 2013 and April 2013. The government

charged each defendant with a single count of conspiracy to possess with intent to distribute

cocaine base, in violation of 21 U.S.C. §§846 and 841 (b )(1 )(C). All five pleaded guilty.

        The offense conduct for all five defendants is relatively similar, but the Sentencing

Guidelines recommend dramatically longer terms of incarceration for two of the defendants

based on their lengthy criminal histories. The government agrees that within-guidelines

sentences would be "much too long" considering the limited extent of the instant wrongdoing.


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                a. Terrance Jones

         Jones's total offense level is 29 and his criminal history category is VI. The

 recommended guideline imprisonment range is 151 to 188 months.

         Jones was sentenced to time served-over a year in prison-and five years of supervised

 release. A $100 special assessment was imposed. There was no fine because defendant does not

 have any assets, and it is unlikely that he will have any in the near future.

         Respectful consideration was given to the Sentencing Guidelines, the Sentencing

 Commission's policy statements, and all other factors listed under 18 U.S.C. § 3553(a) to ensure

 that the sentence is "sufficient, but not greater than necessary, to comply with the purposes" of

 sentencing. See 18 U.S.C. § 3553(a). A sentence within the guidelines is not appropriate in this

 case.

         The court considered the "nature and circumstances of the offense and the history and

 characteristics of the defendant." See 18 U.S.C. § 3553(a)(1). Jones is now 41 years old. He has

 cohabitated with his girlfriend, with whom he has two children, since the mid-1990s. His

 girlfriend describes him as a "great father" who is involved in the lives of his children. Jones's

 14-year-old daughter spoke at sentencing about missing her father, emphasizing that she "just

 want[s] him home." Also supporting Jones at sentencing were his mother-in-law and five cousins

 and friends.

         Jones has some prospects for legal employment upon release. He has a suspended

 commercial driver's license, which he hopes to restore, and is motivated to work as a driver. His

 cousin, who works delivering car parts, testified that he would assist Jones in finding

 employment.




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           Under Section 3553(a)(2)(B) of title 18, a sentencing court must consider two major

 factors: general and specific deterrence. General deterrence is satisfied by the felony conviction

 and a term of imprisonment exceeding a year. Specific deterrence has been substantially

 achieved. Defendant has expressed genuine remorse and desire to abandon his lengthy criminal

 career.

                  b. Kareem Campbell

           Campbell's total offense level is 29 and his criminal history category is VI. The

recommended guideline imprisonment range is 151 to 188 months.

           Campbell was sentenced to one year and one day incarceration, and three years of

supervised release. A $1 00 special assessment was imposed. There was no fine because

defendant does not have any assets, and it is unlikely that he will have any in the near future.

           Respectful consideration was given to the Sentencing Guidelines, the Sentencing

Commission's policy statements, and all other factors listed under 18 U.S.C. § 3553(a) to ensure

that the sentence is "sufficient, but not greater than necessary, to comply with the purposes" of

sentencing. See 18 U.S.C. § 3553(a). A sentence within the guidelines is not appropriate in this

case.

           The court considered the "nature and circumstances of the offense and the history and

characteristics of the defendant." See 18 U.S.C. § 3553(a)(l). Defendant is 31 years old, and has

maintained a consensual relationship with his girlfriend for over 15 years. Together they have a

13-year-old daughter. Present at sentencing were defendant's mother, brother, sister, and a

family friend.




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        Defendant's father, with whom defendant was "very close," died suddenly when

 defendant was 12 years old. He believes his father's death was related to diabetes and

alcoholism. Defendant has struggled with alcohol and marijuana abuse since that time.

        Defendant hopes to find employment as a cook. At the time of his arrest, he was regularly

attending the Star Career Academy in Manhattan, for culinary studies. He owes a significant sum

for tuition.

        Under Section 3553(a)(2)(B) of title 18, a sentencing court must consider two major

factors: general and specific deterrence. General deterrence is satisfied by the felony conviction

and a term of imprisonment exceeding a year. Specific deterrence has been substantially

achieved. Treatment for alcohol and drug abuse, required as a condition of Campbell's

supervised release, is more likely than additional incarceration to prevent recidivism in this case.

               c. Keith Beaufort

        Beaufort's total offense level is 8, after a 2-point "safety valve" reduction, and his

criminal history category is I. The recommended guideline imprisonment range is 0 to 6 months.

        Beaufort was sentenced to three years of probation. A $100 special assessment was

imposed. There was no fine because defendant does not have any assets, and it is unlikely that he

will have any in the near future.

        Respectful consideration was given to the Sentencing Guidelines, the Sentencing

Commission's policy statements, and all other factors listed under 18 U.S. C. § 3553(a) to ensure

that the sentence is "sufficient, but not greater than necessary, to comply with the purposes" of

sentencing. See 18 U.S.C. § 3553(a). The government did not object to a non-incarceration

sentence for this offense.




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        The court considered the "nature and circumstances of the offense and the history and

 characteristics ofthe defendant." See 18 U.S.C. § 3553(a)(l). Defendant is 31 years old and has

 no criminal convictions. His father died when defendant was 12 years old after being struck by a

 tractor trailer; his mother died when defendant was 16 years old from pulmonary edema. He was

 then raised by his oldest brother, a correctional officer with the New York City Department of

 Corrections, who assumed responsibility for defendant and his two other siblings.

        The defendant worked as an unarmed security guard for several private security

 companies prior to his arrest. Since May 2013 he has been earning minimum wage as a

warehouse worker at various locations in Brooklyn.

        Under Section 3553(a)(2)(B) of title 18, a sentencing court must consider two major

factors: general and specific deterrence. General deterrence is satisfied by the felony conviction

and attendant collateral consequences. Specific deterrence has been substantially achieved.

Defendant showed considerable remorse, including concern that his conduct reflected poorly on

his older brother.

               d. Ira Martin

        Martin's total offense level is 12 and his criminal history category is I. The recommended

guideline imprisonment range is 10 to 16 months.

        Martin was sentenced to three years of probation. A $1 00 special assessment was

imposed. There was no fine because defendant does not have any assets, and it is unlikely that

he will have any in the near future.

        Respectful consideration was given to the Sentencing Guidelines, the Sentencing

Commission's policy statements, and all other factors listed under 18 U.S.C. § 3553(a) to ensure

that the sentence is "sufficient, but not greater than necessary, to comply with the purposes" of


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 sentencing. See 18 U.S.C. § 3553(a). The government did not object to a non-incarceration

 sentence for this offense.

           The court considered the "nature and circumstances of the offense and the history and

 characteristics of the defendant." See 18 U.S.C. § 3553(a)(l). Martin is 30 years old. When he

 was 18 years old, his mother became the guardian and foster mother of defendant's three

 cousins, whose mother (defendant's aunt) was addicted to heroin. Defendant's father, although

 now sober, was addicted to crack cocaine and heroin and involved in "robbing and stealing"

throughout much of defendant's childhood. He has been in a romantic relationship with his

girlfriend since 2004. Together they have a 5-year-old daughter.

          Since his arrest, defendant has been in court-ordered therapy for depression, anxiety, and

other anger management issues. He has skipped or failed to report to several therapy sessions,

though some of these absences have been due to work commitments or public assistance

appointments. His therapist reports that "[ o]verall, it seems as though work is helping

 [defendant] adjust to current circumstances, but again treatment compliance has been a major

issue."

          Defendant lives in an apartment provided by the New York City Department of Homeless

Services. He has been working as a maintenance worker (porter) since June 2013.

          Under Section 3553(a)(2)(B) of title 18, a sentencing court must consider two major

factors: general and specific deterrence. General deterrence is satisfied by the felony conviction

and attendant collateral consequences. Specific deterrence has been substantially achieved.

Defendant has expressed genuine remorse, and will most benefit from continued psychiatric and

substance-abuse treatment.

                 e. Jonathan Scott


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          Scott's total offense level is 12 and his criminal history category is I. The recommended

 guideline imprisonment range is 10 to 16 months.

          Scott was sentenced to three years of probation, to commence after his release from

 custody on State criminal charges pending in Vermont. If supervised release is a component of

 defendant's State sentence, the Probation Office may make an application to release defendant.

 A $1 00 special assessment was imposed. There was no fine because defendant does not have

 any assets, and it is unlikely that he will have any in the near future.

          Respectful consideration was given to the Sentencing Guidelines, the Sentencing

 Commission's policy statements, and all other factors listed under 18 U.S.C. § 3553(a) to ensure

that the sentence is "sufficient, but not greater than necessary, to comply with the purposes" of

 sentencing. See 18 U.S.C. § 3553(a). The government did not object to a non-incarceration

 sentence for this offense.

          The court considered the "nature and circumstances of the offense and the history and

characteristics ofthe defendant." See 18 U.S.C. § 3553(a)(l). Scott is 24 years old. He had a

difficult upbringing, living "on the streets" and with friends for part of his childhood, while his

father struggled with drug abuse.

          He has been in a romantic relationship with his fiance, who is pursuing her Master's

degree, since 2011. She describes defendant as "supportive," "articulate," and "prepared to

change." She has remained in daily telephone or email contact with the defendant since his

arrest.

          Under Section 3553(a)(2)(B) of title 18, a sentencing court must consider two major

factors: general and specific deterrence. General deterrence is satisfied by the felony conviction

and attendant collateral consequences. Specific deterrence has been substantially achieved. With


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the continued support of his fiance and monitoring by the Probation Office, defendant will have

an opportunity to make much-needed changes in his life.

                                                     SO ORDERED.




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                                                     Senior   nited States District Judge

Dated: March 19, 2014
       Brooklyn, New York




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